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               UNITED STATES COURT OF INTERNATIONAL TRADE
            BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE



  IKADAN SYSTEM USA, INC. and WEIHAI
  GAOSAI METAL PRODUCT CO., LTD.,
                       Plaintiffs,
            v.
  UNITED STATES,
                                                      Court No. 21-00592
                       Defendant,


             and                                      PUBLIC VERSION
                                                      BPI removed from pages 7-9.
  HOG SLAT, INC.,
                       Defendant-Intervenor.




                   PLAINTIFFS’ RULE 56.2 SUPPLEMENTAL BRIEF




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Dated: November 4, 2022




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I.     CBP’S REMAND DETERMINATION PROVIDES NO ADDITIONAL SUPPORT
       FOR ITS DETERMINATION OF “COVERED MERCHANDISE.”

       A.      Background

       On August 17, 2022, Defendant moved this Court to remand the U.S. Customs and

Border Protection (“CBP”) Administrative Review Decision. Defendant’s Motion for Voluntary

Remand and to Stay Filing of Rule 56.2 Brief (Aug. 17, 2022) (“Motion for Voluntary

Remand”), ECF 50. Defendant explained that it requested the voluntary remand “for CBP to

place on the record and consider the determination made by the Department of Commerce

(Commerce) that certain products imported by plaintiffs are subject to the AD/CVD orders.” Id.

at 1. Defendant stated that “{b}ecause this issue is central to each claim in plaintiffs’ complaint

and motion for judgment upon the administrative record, the voluntary remand has the potential

to affect each issue challenged …” Id. at 2. According to Defendant, “{p}ermitting CBP to

consider Commerce’s scope ruling on the record and clarify or correct its administrative review

decision will ensure that the Court is presented with a thorough analysis of relevant law and

record evidence.” Id. at 6. In its Remand Determination, however, CBP did not, however,

present a “thorough analysis of relevant law and record evidence” regarding Commerce’s Scope

Ruling. See generally Final Remand Determination (Oct. 3, 2022), Remand Administrative

Record (“Remand A.R.”) Doc. 23; Commerce Scope Ruling on Pig Farrowing Crates and

Farrowing Flooring Systems (May 11, 2021) (“Commerce Scope Ruling”), Supplemental

Administrative Record (“Supp. A.R.”) Doc. 7.

       Despite Defendant promising, in its motion for voluntary remand, a “thorough analysis of

relevant law and record evidence,” CBP delivered a terse, three-page Draft Remand

Determination. Draft Remand Determination (Sept. 8, 2022), Remand A.R. 10. The entirety of

CBP’s “analysis” of Commerce’s Scope Ruling is as follows:
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                  We note that the relevant imported products, namely, farrowing
                  crates and flooring systems, are comprised of multiple different
                  components, with tribar floors (sometimes called tribar truss
                  flooring) being the specific component at issue. In the Scope
                  Ruling, Commerce considered three different products: “(1) a
                  farrowing floor system that is partly made of a galvanized steel
                  tribar truss floor and partly made of a ductile cast-iron floor; (2) a
                  pig farrowing crate with the farrowing floor system described in
                  item (1); and (3) a pig farrowing crate without flooring.”
                  Commerce considered each product individually and ultimately
                  determined that the tribar truss floors remain subject to the
                  AD/CVD Orders on Certain Steel Grating of Chinese-origin
                  (“CSG”), despite their inclusion with other farrowing crate and/or
                  flooring system components. Commerce did not consider the
                  additional components of the tribar truss floors (i.e., the trusses) to
                  transform them into a new product, as the “essential
                  characteristics” of the CSG were “largely unchanged.” Commerce
                  found that the other components of the farrowing crates and
                  flooring systems are outside the scope of the AD/CVD Orders on
                  CSG. Commerce’s Scope Ruling provides further support to
                  TRLED’s June 21 Determination and R&R’s October 26 FAD by
                  reinforcing CBP’s determination that the tribar flooring component
                  of the farrowing crates and flooring systems is within the scope of
                  the Orders.

Draft Remand Determination, at 2; Final Remand Determination, at 3.

        Following CBP’s Draft Remand, Plaintiffs then submitted their comments on CBP’s

Draft Remand Redetermination, demonstrating in detail why Commerce’s Scope Ruling does not

provide substantial evidence in support of CBP’s conclusion that Plaintiffs’ pig farrowing crates

and farrowing flooring systems are within the scope of the CSG Orders. See generally Ikadan

System USA Inc. and Weihai Gaosai Metal Product Co., Ltd., Comments on Draft Remand

Redetermination (Sept. 19, 2022) (“Ikadan/Gaosai Comments”), Remand A.R. 17 (copy

attached). Specifically, Plaintiffs demonstrated in detail that:

        (1) contrary to Commerce’s Scope Determination, the unambiguous scope language of
        the CSG Orders covers CSG but does not cover downstream products made from CSG as
        an input;




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        (2) Commerce’s mixed media analysis does not apply here because the tribar itself is not
        one of multiple independent items in a set, but rather is an input to a distinct, out-of-scope
        downstream product; and
        (3) pig farrowing crates and farrowing flooring systems are unique items and therefore
        the mixed media test does not apply.

Id.

        Nevertheless, CBP’s “analysis” of Commerce’s Scope Ruling was unchanged. Final

Remand Determination, at 3.

        B.        CBP’s Remand Determination Does Not Comply With the Court’s Remand
                  Order Because It Provides No “Analysis of Relevant Law and Record
                  Evidence” With Respect to Commerce’s Scope Determination.

        “The results of a redetermination pursuant to court remand are also reviewed for

compliance with the court’s remand order.” Habaş Sinai ve Tibbi Gazlar Endüstrisi, A.Ş. v.

United States, 44 CIT ___, ___, 470 F. Supp. 3d 1363, 1365 (2020) (quoting SolarWorld Ams.,

Inc. v. United States, 41 CIT ___, ___, 273 F. Supp. 3d 1314, 1317 (2017)). Here, although this

Court’s Remand Order did not give specific instructions, see ECF 51, at a minimum, the Court

should expect CBP to do what it said that it would do, viz., “consider Commerce’s scope ruling

on the record and clarify or correct its administrative review decision” in order to “ensure that

the Court is presented with a thorough analysis of relevant law and record evidence.” Motion for

Voluntary Remand, at 6.

        CBP, however, did not do what it told the Court that it would do on remand. The sum

and substance of CBP’s “analysis” of Commerce’s Scope Ruling was that “Commerce did not

consider the additional components of the tribar truss floors (i.e., the trusses) to transform them

into a new product, as the ‘essential characteristics’ of the CSG were ‘largely unchanged.’”

Final Remand Determination, at 3. Although Plaintiffs argued that application of the label

“essential characteristics” was vague and untethered to any judicially recognized test or


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consistent past Commerce practice, Ikadan/Gaosai Comments, at 18-19, CBP did not address this

argument—or any of Plaintiffs’ arguments—in its Remand Determination.

        B.        CBP Is Mistaken That Its Role Is Merely “Ministerial” in an EAPA Action.

        In response to Plaintiffs’ detailed analysis of Commerce’s Scope Ruling, CBP advances

the surprising argument that it plays only a “ministerial” role in “enforcing antidumping and

countervailing duty order-related determinations issued by Commerce.” Final Remand

Determination, at 4. Yet CBP itself vociferously asserted in its Administrative Review

Determination that it did not need to consult Commerce at all in determining whether the

Plaintiffs’ products were covered merchandise:

                  First, 19 U.S.C. § 1517(b)(4) and 19 CFR 165.16(a) only require a
                  scope referral to Commerce when CBP cannot determine whether
                  the merchandise described in the allegation is covered merchandise
                  under the AD and/or CV duty orders at issue. CBP found that it
                  was able to determine that tribar floors are covered merchandise
                  based upon the contents of the record without a scope referral to
                  Commerce and explained the reasoning behind this finding in the
                  June 21 Determination. Specifically, CBP found, based upon the
                  evidence in the administrative record, that the way the tribar floors
                  are constructed would place them within the scope of the AD/CV
                  duty orders and that no exclusions apply to the tribar floors.
                  Nothing in the record indicates that such a finding by CBP without
                  referring the matter to Commerce was improper. Therefore, we
                  find that such a scope referral to Commerce was not needed and
                  CBP acted within its authority in determining that the tribar floors
                  are within the scope of the AD/CV duty orders.

Administrative Review Determination (Oct. 26, 2021), Public Administrative Record Document

80, at 9.

        Here, of course, CBP did not make a scope referral (pursuant to 19 C.F.R. § 165.16(a)),

and Commerce issued its opinion—that the steel decking of the tribar truss floor of Plaintiffs’

farrowing flooring systems and pig farrowing crates—only after Gaosai requested a ruling by

Commerce pursuant to 19 C.F.R. § 351.225(c). Commerce Scope Ruling, at 1.


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        Moreover, even if CBP had made a scope referral under 19 C.F.R. § 165.16(a), there is

nothing in the EAPA statute or CBP’s regulations that requires CBP to follow Commerce’s

scope determination, when CBP makes its EAPA determination.

        Put simply, CBP is attempting to have it both ways—independent enough under the

EAPA statute to be able to make its own scope determinations without Commerce’s aid, yet

hiding behind Commerce by insisting that it performs only a “ministerial” role, such that it is not

required to defend its scope determinations when it relies on a scope determination by

Commerce in a separate proceeding.

        Thus, CBP is wrong to claim that it only exercises a “ministerial” role in its EAPA

decision, including the element of determining whether the products at issue are within the scope

of the CSG Orders. Furthermore, when this Court reviews CBP’s original EAPA decision and

Administrative Review Determination, the Court must determine whether all aspects of CBP’s

determination—including its determination that portions of Plaintiffs’ pig farrowing crates and

farrowing flooring systems are within the scope of the CSG Orders—are supported by

substantial evidence. Contrary to CBP’s claim that is only making a “factual find{ing} that the

tribar flooring portions are subject to the AD/CVD Orders,” Administrative Review

Determination at 4, Commerce must apply both facts and law to its determination that Plaintiffs’

products are “covered merchandise.” See 19 U.S.C. § 1517(a)(3). To withstand Court review,

CBP must justify its finding that Plaintiffs’ products are “covered merchandise,” applying the

same legal framework that the Court would use in direct review of a scope determination by

Commerce.




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        C.        Plaintiffs’ Challenge to the “Covered Merchandise” Portion of CBP’s EAPA
                  Ruling Under 19 U.S.C. § 1517 Is Not Foreclosed by the Availability of
                  Review of Commerce Scope Rulings.

        Finally, CBP stated that it “declines to address these arguments {by Ikadan/Gaosai} in its

final remand redetermination as the proper avenue to dispute Commerce’s Scope Ruling is

seeking judicial review under 19 U.S.C. § 1516a(a)(2).” Final Remand Determination, at 4.

CBP is wrong. Plaintiffs are not seeking judicial review under 19 U.S.C. § 1516a(a)(2) because

the cause of action here is 19 U.S.C. § 1517(g), which provides judicial review of CBP’s initial

EAPA determination of evasion under 19 U.S.C. § 1517(c) and CBP’s administrative review of

that initial determination under 19 U.S.C. § 1517(f). See 19 U.S.C. § 1517(g)(1). In other

words, Plaintiffs are seeking court review of CBP’s determination of evasion, and all of the

consequences therefrom. Although Plaintiffs could have challenged, under Section 1516a,

Commerce’s determination as to “whether a particular type of merchandise is within the class or

kind of merchandise described in an existing finding of dumping or antidumping or

countervailing duty order,” see 19 U.S.C. § 1516a(a)(2)(B)(vi), Section 1517 concerns an

entirely different statute (EAPA), with an entirely different set of consequences. There is

nothing in Sections 1516a or 1517 that prevents Plaintiffs from suing under Section 1517(c) even

if it is not directly challenging a Commerce scope determination under Section 1516a. Indeed, if

Commerce had offered its scope determination in response to a referral by CBP pursuant to

Section 1517(b)(4), the only cause of action for Plaintiffs would have been Section 1517(g), not

Section 1516a. Here CBP decided not to make a referral, but instead to make its own

determination of whether Plaintiffs’ products constituted “covered merchandise.” Commerce

issued its scope determination in response to a separate scope request by Plaintiffs under separate

legal authority. The fact that Plaintiffs chose not to appeal Commerce’s determination simply

does not estop or otherwise prevent Plaintiffs from seeking review of CBP’s EAPA
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determination, including any aspects of that determination, such as what constitutes “covered

merchandise” in this instance.

II.     THE ISSUE OF WHETHER CBP SUSPENDED LIQUIDATION AND IMPOSED
        CASH DEPOSITS IN AN OVERBROAD MANNER IS PROPERLY BEFORE
        THIS COURT.

        In the Ikadan/Gaosai Comments, Plaintiffs stated that they incorporate by reference

several additional arguments that made on other issues in the litigation. Ikadan/Gaosai

Comments, at 33. One of the issues that Plaintiffs discuussed in particular is its argument that

CBP arbitrarily and capriciously suspended liquidation and assigned AD/CVD cash deposits in

an overbroad manner to imports that contain no tribar. Id. at 33-34.

        CBP responded by stating that “{t}his argument does not change the overall

determination of evasion.” Final Remand Determination, at 4. According to CBP, all that

matters is that Plaintiffs acknowledged that at least some of their entries contained tribar. Id. at

4-5. CBP asserts further that “{t}he extent to which entry line items are subject to this finding is

outside the scope of the EAPA investigatory and administrative review processes and will be

determined at the time final duties, taxes, and fees are assessed on those entries.” Id. at 5. CBP

is mistaken, for several reasons.

        First, this Court must review CBP’s findings with respect to each Ikadan entry in order to

support its finding of any instances of entry of “covered merchandise.” In its initial

determination, CBP noted that Ikadan stated that no tribar floors were imported during the POI.

TRLED Notice of Determination of Evasion (“Initial Determination”), Confidential A.R. Doc.

123, at 7. CBP determined, however, “of [II] entry lines reviewed, [xxxxx] of them contained

either farrowing crates or tribar floors as the imported product listed on the commercial

invoices.” Id. Thus, even if it were true (which it is not) that CBP only had to identify one entry

line by Ikadan that contained tribar flooring to sustain its EAPA determination, this Court must
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scrutinize CBP’s findings with respect to Ikadan entries to determine that Ikadan entered

“covered merchandise” through “evasion.” See 19 U.S.C. § 1517(c)(1).

        Second, this Court must review CBP’s findings with respect to each Ikadan and Gaosai

entry because CBP made specific findings on such entries. On July 7, 2021, CBP issued a CF-29

to Ikadan, stating the following:

                  [Ixxxx xx IIII Ixxx. Ixxx Ixxxxx IIII xxxxxxxx, III xxx
                  xxxxxxxxxx xxxx xxx xxxxxxxxx xxxxxxx xxxxxxx xxxxxxxxxxx
                  xxxxxxx xx IIII-III I III.III xxx I-III-III I II.III. I xxxxxxx xxxx
                  xxxx xxxxxxx xx xxxx II xxx IIIII xxx xxxx xxxxx xx xxxxxxx I.]

Confidential Supp. A.R. Doc. No. 128. The CF-29 then goes on to list the seven specific entries

and the amount of cash deposits due on each entry. Id. TRLED employees then calculated the

line-by-line breakdown (see. Confidential Supp. A.R. Doc. Nos. 129-30, and exchanged e-mails

with Ikadan’s counsel regarding the same.

         Regarding Gaosai, CBP determined that “evidence on the record shows that of [II]

Gaosai entries, [II] entry lines contained either farrowing crates or tribar floors as the imported

product listed on the commercial invoices classified under HTSUS 7308.90.9590.” Initial

Determination, at 7. CBP noted that Gaosai stated in its questionnaire responses that only two

entry numbers ([III-IIII]0608 and [III-IIII]1939 contained tribar flooring. Id. Nevertheless, CBP

made its determination in reliance, at least in part, on its finding that “the commercial invoices

and packing lists for both entries disclosed the descriptions as “farrowing crates,” with no

indication of whether the shipments contained tribar flooring” and its finding that all farrowing

crates “were [xxxxxxxx xx xxxxxxx xxxxxx xxxxxx].” Id. Clearly CBP made its determination

with respect to specific entries of Gaosai, and thus that determination is reviewable by this Court.

        CBP also issued a CF-29 to Gaosai, stating the following:

                  [Ixx xxxxxxxxx xxxxxx xxx xxxx xxxxx. Ixxxx xxxxxxx xxxx
                  xxxx xxxxxxxx. Ixx xxxxxxx xxxx xxxx xxxxx xxxxxxxxxxx
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                  xxxx I-III-III-III xxx xxxxxxxxxxxxxx xxxx I-III-III-III Ixxxx
                  Ixxxxxx. Ixx xxxxxxx xxxx xx xxxxxxxxx xxxx xxxxxxxxxxx
                  xxxxx xxxxxxxxxxxx xxx xxxxxxxx xxxx xxx Ixxxxxxxxx xx
                  Ixxxxxxx. Ixx xxxxxx xxx xxxxxxxxx xx xxxx xxxx xxxx xxxxxx
                  xxxxxxxx xxx xxx xxxx xx xxxxxx xxxxxxxxxxx xx xxx xxxx xx
                  xxxxxxxxxxx.]

Confidential Supp. A.R. Doc. No. 132. In a July 28, 2021 e-mail to a TRLED employee,

Gaosai’s counsel asked for details regarding the action taken by CBP on these entries, such as

line numbers, values, or part numbers of the rate-advanced products that were determined to be

covered merchandise. See Confidential Supp. A.R. Doc. No. 131. On July 29, 2021, that

TRLED employee then sent CF-29s and Excel spreadsheets regarding these details. Id. In other

words, TRLED itself already made determinations with respect to the specific entries and line

items of Plaintiffs, and these should be reviewable by this Court.

        Finally, this Court must review CBP’s determination with respect to each specific entry

that it found to be “covered merchandise” because the EAPA statutory scheme, as implemented

in CBP’s regulations, directs CBP to do the following with respect to each entry that CBP

determined constituted “covered merchandise”: (1) suspend or extend liquidation; (2) notify

Commerce and request (if necessary) that Commerce identify an applicable AD/CVD duty

assessment rate; and (3) require posting of cash deposits and assessment of duties. 19 C.F.R. §

165.28. If it were true that CBP only needed to find one entry that was “covered merchandise”

to make an affirmative EAPA determination, then none of the above actions that CBP must do,

according to its regulations, would be reachable by judicial review. In other words, if CBP (or

this Court) were to determine that CBP erred in finding certain specific entries to be “covered

merchandise,” the Plaintiffs could not be made whole by filing a protest (or later instituting an

action under 28 U.S.C. § 1581(a), if the protest were denied). CBP (or this Court) could erase

any unlawful duty through the protest/1581(a) procedure, but could not compensate for the injury


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of Plaintiffs having to post cash deposits. Moreover, it is unclear whether Plaintiffs could seek

redress through the protest/1581(i) procedure, or instead have to request a lengthy and costly

administrative review of the CSG AD/CVD Orders pursuant to 19 U.S.C. § 1675.

        For the above reasons, the Court in this action must scrutinize CBP’s determinations with

respect to specific entries, not sweep them under the rug for later, as CBP urges.

III.    CONCLUSION.

        For all of the above reasons, as well as the reasons stated in Plaintiffs’ opening brief, see

ECF Nos. 44 & 45, the Court should enter judgment in favor of Plaintiffs, and remand CBP’s

determination with instructions to reconsider its ultimate finding of evasion and all subsidiary

findings in a manner that is in accordance with law and is no longer arbitrary and capricious.

                                               Respectfully submitted,

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November 4, 2022




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               Certification of Compliance with Chambers Procedure 2(B)(1)


The undersigned hereby certifies that the foregoing brief contains 2997 words, exclusive of the
table of contents, table of authorities, and counsel’s signature block, and therefore complies with
the maximum word count limitation of 5,000 as set forth in the Court’s October 13, 2022 Order
(ECF 59).




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